     Case 3:12-cv-00076-TBR Document 14 Filed 05/11/12 Page 1 of 1 PageID #: 49




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


AMBER NICHOLS,                                 )
    Plaintiff                                  )
                                               )
v.                                             )         CASE NO. 3:12-cv-00076-TBR
                                               )
COLLECTION ASSOCIATES, INC.,                   )
     Defendant                                 )


                                     ORDER OF DISMISSAL

         The Plaintiff, Amber Nichols, and the Defendant, Collection Associates, Inc., having

filed their Stipulation of Dismissal, and the same having been submitted for the consideration of

the Court, and the Court being duly advised in the premises, and it appearing to the Court that all

claims in this cause have been fully compromised and settled. The Court now approves the

parties’ Stipulation of Dismissal and it is;

         ORDERED by the Court that this cause be, and the same is hereby dismissed with

prejudice and said parties are to pay their own costs.




                                                                  May 11, 2012
